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                              Exhibit F
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        EXHIBIT D
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                                 UNITED STATES DISTRICT COURT FOR
                                 THE NORTHERN DISTRICT OF ILLINOIS


     If you and/or your minor child used the TikTok and/or
         Musical.ly application, You May Be Entitled to a
            Payment from a Class Action Settlement.
    If you live in Illinois and used the TikTok app in Illinois to create videos, you
                         may be entitled to up to 6x the Payment.
     A federal court authorized this Notice. You are not being sued. This is not a solicitation from a lawyer.
         •   Plaintiffs filed a class action complaint alleging that TikTok, Inc. f/k/a Musical.ly, Inc;
             ByteDance, Inc.; Musical.ly n/k/a TikTok, Ltd. and Beijing ByteDance Technology Co. Ltd.
             (collectively, the “Defendants”), violated federal and state law by collecting and using, without
             sufficient notice and consent, Plaintiffs’ personal data in connection with their use of the TikTok -
             Make Your Day video-sharing application (and/or its predecessor app Musical.ly) distributed in
             the U.S. (the “App.”).
         •   Defendants deny these allegations and other material allegations in the operative complaint.
         •   The Settlement 1 that has been reached in this case affects the following persons (collectively the
             “Settlement Class”):

                Nationwide Class: All persons who reside in the United States who used the App prior
                to DATE of issuance of the Preliminary Approval Order.

                Illinois Subclass: All persons who reside in the State of Illinois and used the App in the
                State of Illinois to create videos prior to DATE of issuance of the Preliminary Approval
                Order.

         •   The Settlement, if approved, would provide $92,000,000 to pay the members of the Settlement Class
             who file valid claims, as well as to pay Plaintiffs’ attorneys’ fees, costs, a service award for the
             named plaintiffs, and the administrative costs of the settlement. It would also provide injunctive
             relief to protect App users’ information. The Settlement avoids the further cost and risk associated
             with continuing the lawsuits; it pays money to those persons whose rights Plaintiffs contend were
             violated; and it releases Defendants from further liability.
         •   You may submit a claim on your own behalf or on behalf of your minor child.
         •   Your legal rights are affected whether you act or don't act. Read this notice carefully.

                       YOUR LEGAL RIGHTS AND OPTIONS IN THIS SETTLEMENT




1
 Capitalized terms herein have the same meanings as those defined in the Settlement Agreement, a copy
of which may be found online at the Settlement Website below.
                              Questions? Call SETTLEMENT INFO PHONE # or visit
                                      www.tiktokdataprivacysettlement.com
                                                        1
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        SUBMIT A                    If you are a member of the Settlement Class, you must submit a completed
        CLAIM FORM                  Claim Form to receive a payment. If the Court approves the Settlement
                                    and it becomes final and effective, and you remain in the Settlement Class,
                                    you will receive your payment by electronic means (unless you opt for an
                                    alternative form of payment). Deadline: DATE
        EXCLUDE                       You may request to be excluded from the Settlement and, if you do, you
        YOURSELF                      will receive no benefits from the Settlement.
                                      Deadline: DATE
        OBJECT                        Write to the Court if you do not like the Settlement.
                                      Deadline: DATE
        GO TO A HEARING               Ask to speak in Court about the fairness of the Settlement.


        DO NOTHING                    You will not receive a payment if you fail to timely submit a completed
                                      Claim Form, and you will give up your right to bring your own lawsuit
                                      against Defendants about the Claims in this case.

    •     These rights and options - and the deadlines to exercise them - are explained in this Notice.
    •     The Court in charge of this case still has to decide whether to approve the Settlement. If it
          does, and after any appeals are resolved, benefits will be distributed to those who submit
          qualifying Claim Forms. Please be patient.


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                                  Questions? Call SETTLEMENT INFO PHONE # or visit
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                                      BASIC INFORMATION
  1. Why is there a Notice?

A court authorized this Notice because you have a right to know about a proposed Settlement of the
class action lawsuit known as In Re: TikTok, Inc., Consumer Privacy Litigation, MDL No. 2948, 20-
cv-4699 (N.D. Ill.) (the “Action”) and about all of your options before the Court decides whether to
give Final Approval to the Settlement. This Notice explains the lawsuit, the Settlement, and your legal
rights.
The United States District Court for the Northern District of Illinois is overseeing this case. The persons
who sued are called the “Plaintiffs.” TikTok, Inc. f/k/a Musical.ly, Inc; ByteDance, Inc.; Musical.ly n/k/a
TikTok, Ltd. and Beijing ByteDance Technology Co. Ltd. are called the “Defendants.”

  2. What is this litigation about?

The lawsuit alleges that Defendants collected and used, without sufficient notice and consent, Plaintiffs’
personal data in connection with Plaintiffs’ use of the App.
Defendants deny every allegation of wrongdoing, liability, and damages that were or could have been
asserted in the litigation and that the claims in the litigation would be appropriate for class treatment if
the litigation were to proceed through trial.
The Plaintiffs’ Complaint, Settlement Agreement, and other case-related documents are posted on the
Settlement Website, www.tiktokdataprivacysettlement.com. The Settlement resolves the lawsuit. The
Court has not decided who is right.

  3. Why is this a class action?

In a class action, the person called the “Class Representative” (in this case, Plaintiffs) sues on behalf of
herself and other people with similar claims.
All the people who have claims similar to the Plaintiffs’ are Settlement Class Members, except for those
who exclude themselves from the class.

  4. Why is there a settlement?

The Court has not found in favor of either Plaintiffs or Defendants. Instead, both sides have agreed to
a settlement. By agreeing to the Settlement, the parties avoid the costs and uncertainty of a trial, and
if the Settlement is approved by the Court, Settlement Class Claimants will receive the benefits
described in this Notice. Defendants deny all legal claims in this case. Plaintiffs and their lawyers think
the proposed Settlement is best for everyone who is affected.




                          Questions? Call SETTLEMENT INFO PHONE # or visit
                                  www.tiktokdataprivacysettlement.com
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                           WHO IS PART OF THE SETTLEMENT
  5. Who is included in the Settlement?
The Settlement Class includes the following persons:

           Nationwide Class: All persons who reside in the United States who used the App prior
           to DATE of issuance of the Preliminary Approval Order.

           Illinois Subclass: All persons who reside in the State of Illinois and used the App in the
           State of Illinois to create videos prior to DATE of issuance of the Preliminary Approval
           Order.

If you do not reside in the United States and did not use the App prior to DATE of issuance of the
Preliminary Approval Order, you are not a part of the Settlement Class and may not submit a claim to
receive benefits under the Settlement. Also excluded from the Settlement Class are: (i) TikTok, its
parent, subsidiaries, successors, affiliates, officers, and directors; (ii) the judge(s) to whom the Civil
Actions are assigned and any member of the judge’s or judges’ immediate family; (iii) persons who
have settled with and released TikTok from individual claims substantially similar to those alleged in
the Civil Actions; (iv) persons who submit a valid and timely Request for Exclusion; and (v) all Class
Counsel and counsel of record in the Civil Actions.
  6. What if I am not sure whether I am included in the Settlement?

If you are not sure whether you are in the Settlement Class or have any other questions about the
Settlement, visit the Settlement Website at www.tiktokdataprivacysettlement.com or call the toll-free
number, SETTLEMENT PHONE #. You also may send questions to the Settlement Administrator
at info@email address.


                                THE SETTLEMENT BENEFITS
  7. What does the Settlement provide?

To fully settle and release claims of the Settlement Class Members, Defendants have agreed to establish
a $92 million fund (the “Settlement Fund”) to (i) make payments to the Settlement Class Members and
(ii) pay for notice and administration costs of the Settlement, attorneys’ fees and expenses incurred by
counsel for the Settlement Class, and service awards for Plaintiffs. Each Settlement Class member who
timely files with the Settlement Administrator a valid Claim Form will receive a settlement payment of
a pro rata share of the Settlement Fund.
If you are an Illinois resident and used the App in Illinois to create videos, you may be entitled to a
payment up to 6 times that of non-Illinois residents due to certain claims in the lawsuit that are specific
to Illinois residents.

  8. How do I file a Claim?

If you qualify for a payment, you must complete and submit a valid Claim Form. You may download a
Claim Form at the Settlement Website, www.tiktokdataprivacysettlement.com, or request a Claim Form


                         Questions? Call SETTLEMENT INFO PHONE # or visit
                                 www.tiktokdataprivacysettlement.com
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by calling the Settlement Administrator at the toll-free number below. To be valid, a Claim Form must
be completed fully and accurately, signed under penalty of perjury, and timely submitted.
You may submit a Claim Form by U.S. mail or file a Claim Form online. If you send in a Claim Form
by U.S. mail, it must be postmarked by DATE. If you file a Claim Form online, then you must do so
by 11:59 p.m. EST on DATE.
No matter which method you choose to file your Claim Form, please read the Claim Form carefully and
provide all the information required. Only one Claim Form may be submitted per Settlement Class
Member. You should not submit a Claim Form if you do not qualify for a payment.



  9. When will I receive my payment?

Payments to Settlement Class Members will be made only after the Court grants Final Approval to the
Settlement and after any appeals are resolved (see “Final Approval Hearing” below). If there are appeals,
resolving them can take time. Please be patient.


                 EXCLUDING YOURSELF FROM THE SETTLEMENT
If you do not want benefits from the Settlement, and you want to keep the right to sue or continue to
sue Defendants on your own about the legal issues in this case, then you must take steps to get out of
the Settlement. This is called excluding yourself—or it is sometimes referred to as “opting out” of the
Settlement Class.

  10. How do I get out of the Settlement?

To exclude yourself from the Settlement, you must send a timely letter by mail to:
                                 Musical.ly and/or TikTok Class Action
                                       Attn: Exclusion Request
                                            P.O. Box 58220
                                  Philadelphia, Pennsylvania 19102
Your request to be excluded from the Settlement must include: (i) the name of the Action; (ii) your full
name, address, email address and telephone number; (iii) a specific statement of your intention to be
excluded from the Settlement; (iv) the identity of your counsel, if represented; and (v) your signature
and the date on which the request was signed.
Your exclusion request must be postmarked no later than DAY AND DATE. You cannot ask to be
excluded on the phone, by email, or at the Settlement Website.
You may opt out of the Settlement Class only for yourself or your minor child.

  11. If I do not exclude myself, can I sue Defendants for the same thing later?

No. Unless you exclude yourself, you give up the right to sue Defendants for the claims that the
Settlement resolves. You must exclude yourself from this Settlement Class in order to pursue your own
lawsuit.


                         Questions? Call SETTLEMENT INFO PHONE # or visit
                                 www.tiktokdataprivacysettlement.com
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  12. What am I giving up to stay in the Settlement Class?

Unless you opt out of the Settlement, you cannot sue or be part of any other lawsuit against Defendants
about the issues in this case, including any existing litigation, arbitration, or proceeding. Unless you
exclude yourself, all of the decisions and judgments by the Court will bind you.
The Settlement Agreement is available at www.tiktokdataprivacysettlement.com. The Settlement
Agreement provides more detail regarding the Releases and describes the Released Claims with specific
descriptions in necessary, accurate legal terminology, so read it carefully. You can talk to the law firms
representing the Settlement Class listed in Question 14 for free, or you can, at your own expense, talk to
your own lawyer if you have any questions about the Released Claims or what they mean.

  13. If I exclude myself, can I still get a payment?

No. You will not get a payment from the Settlement Fund if you exclude yourself from the Settlement.


                         THE LAWYERS REPRESENTING YOU
  14. Do I have a lawyer in the case?

The Court has appointed the following lawyers as “Class Counsel” to represent all members of the
Settlement Class.
           Katrina Carroll                 Elizabeth A. Fegan            Ekwan E. Rhow
           Carlson Lynch, LLP              Fegan Scott LLC               Bird, Marella, Boxer, Wolpert, Nessim,
           111 W. Washington Street        150 South Wacker Drive        Drooks, Lincenberg & Rhow, P.C.
           Suite 1240                      24th Floor                    1875 Century Park East
           Chicago, IL 60602               Chicago, IL 60606             23rd Floor
           (312) 750-1265                  (312) 741-1019                Los Angeles, CA 90067
                                                                         (310) 201-2100
You will not be charged for these lawyers. If you want to be represented by another lawyer, you may
hire one to appear in Court for you at your own expense.

  15. How will the lawyers be paid?

The Settlement Agreement does not provide for a specific amount to be paid to the lawyers who filed
the lawsuit but does allow the Court to award reasonable attorneys’ fees and costs incurred on behalf
of the Class to be paid from the Settlement Fund. Class Counsel intends to request up to 33.33% of the
Settlement Fund for attorneys’ fees and reimbursement of reasonable, actual out-of-pocket expenses
incurred in the litigation. The Court will decide the amount of fees and expenses to award.
Class Counsel will also request that Service Awards of $2,500.00 be paid to each of the Class
Representatives for their services as representatives on behalf of the Settlement Class.


                            OBJECTING TO THE SETTLEMENT
  16. How do I tell the Court if I do not like the Settlement?

                         Questions? Call SETTLEMENT INFO PHONE # or visit
                                 www.tiktokdataprivacysettlement.com
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If you are a Settlement Class Member (and do not exclude yourself from the Settlement Class), you can
object to any part of the Settlement. To object, you must by no later than DAY, DATE, send to the
Settlement Administrator, Class Counsel, and Defendants’ counsel, and file with the Court, a written
statement of the objection(s). The written statement of the objection(s) must include: (i) the name of the
Action and a description of the objection(s), including any evidence and applicable legal authority and
any supporting evidence you wish to introduce; (ii) your full name, address, email address, telephone
number, mobile telephone number(s) for your device(s) used to access the App, and any and all TikTok
usernames used; (iii) whether the objection applies only to you, a specific subset of the Settlement
Class, or the entire Settlement Class; (iv) the identity of all counsel who represent you, including former
or current counsel who may be entitled to compensation for any reason related to the objection, along
with a statement of the number of times in which that counsel has objected to a class action settlement
within five years preceding the submission of the objection, the caption of the case for each prior
objection, and a copy of any relevant orders addressing the objection; (v) all agreements that relate to
the objection or the process of objecting, between you or your counsel and any other person or entity;
(vi) your (and your attorney’s) signature on the written objection; and (vii) a declaration under penalty
of perjury that the information provided by you and your counsel is true and correct.

        Court                Class Counsel         Defendants’ Counsel       Settlement Administrator
     United States          Katrina Carroll         Anthony J Weibell       Musical.ly and/or TikTok Class
   District Court for     Carlson Lynch, LLP,     Wilson Sonsini Goodrich               Action
     the Northern         111 W. Washington              & Rosati,                Attn: Objections
  District of Illinois,          Street,           650 Page Mill Road,             P.O. Box 58220
   Eastern Division,           Suite 1240,         Palo Alto, CA 94304         Philadelphia, PA 19102
  Everett McKinley         Chicago, IL 60602
    Dirksen United
  States Courthouse,       Elizabeth A. Fegan
 219 South Dearborn        Fegan Scott LLC,
 Street, Chicago, IL       150 South Wacker
         60604                   Drive,
                               24th Floor,
                           Chicago, IL 60606

                            Ekwan E. Rhow
                          Bird, Marella, Boxer,
                            Wolpert, Nessim,
                          Drooks, Lincenberg &
                              Rhow, P.C.,
                           1875 Century Park
                            East, 23rd Floor,
                            Los Angeles, CA
                                 90067



  17. What is the difference between objecting and asking to be excluded?

Objecting is telling the Court that you do not like something about the Settlement. You can object to
the Settlement only if you do not exclude yourself. Excluding yourself is telling the Court that you do
not want to be part of the Settlement. If you exclude yourself, you have no basis to object to the
Settlement because it no longer affects you.


                                THE FINAL APPROVAL HEARING
                             Questions? Call SETTLEMENT INFO PHONE # or visit
                                     www.tiktokdataprivacysettlement.com
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The Court will hold a hearing to decide whether to approve the Settlement and any requests for fees
and expenses (“Final Approval Hearing”).

  18. When and where will the Court decide whether to approve the Settlement?

The Court has scheduled a Final Approval Hearing on DAY, DATE at TIME at the United States
District Court for the Northern District of Illinois, Eastern Division, Everett McKinley Dirksen United
States Courthouse, 219 South Dearborn Street, Chicago, IL 60604. The hearing may be moved to a
different date or time without additional notice, so it is a good idea to check
www.tiktokdataprivacysettlement.com for updates. At this hearing, the Court will consider whether the
Settlement is fair, reasonable, and adequate. The Court will also consider the requests by Class Counsel
for attorneys’ fees and expenses and for a Service Award to the Class Representatives. If there are
objections, the Court will consider them at that time. After the hearing, the Court will decide whether
to approve the Settlement. It is unknown how long these decisions will take.

  19. Do I have to attend the hearing?

No. Class Counsel will answer any questions the Court may have. But you are welcome to attend the
hearing at your own expense. If you send an objection, you do not have to come to Court to talk about
it. As long as you submitted your written objection on time and it complies with all the other
requirements set forth above, the Court will consider it. You may also pay your own lawyer to attend
the hearing, but it is not necessary.

  20. May I speak at the hearing?

You may ask the Court for permission to speak at the Final Approval Hearing. You cannot speak at the
hearing if you exclude yourself from the Settlement.


                                     IF YOU DO NOTHING
  21. What happens if I do nothing at all?

If you are a Settlement Class member and do nothing, meaning you do not file a timely Claim, you will
not get benefits from the Settlement. Further, unless you exclude yourself, you will be bound by the
judgment entered by the Court.


                               GETTING MORE INFORMATION
  22. How do I get more information?

This Notice summarizes the proposed Settlement. You are urged to review more details in the
Settlement Agreement. For a complete, definitive statement of the Settlement terms, refer to the
Settlement Agreement at www.tiktokdataprivacysettlement.com. You also may write with questions to
the Settlement Administrator at EMAIL ADDRESS or call the toll-free number, PHONE #




                         Questions? Call SETTLEMENT INFO PHONE # or visit
                                 www.tiktokdataprivacysettlement.com
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                          UNITED STATES DISTRICT COURT FOR
                          THE NORTHERN DISTRICT OF ILLINOIS

    If you and/or your minor child used the TikTok
       and/or Musical.ly application, You May Be
       Entitled to a Payment from a Class Action
                       Settlement.
   If you live in Illinois and used the TikTok app in Illinois to create
          videos, you may be entitled to up to 6x the Payment.
 A federal court authorized this Notice. You are not being sued. This is not a solicitation from a
                                             lawyer.

A Class Action Settlement has been proposed in a case against TikTok, Inc. f/k/a Musical.ly, Inc;
ByteDance, Inc.; Musical.ly n/k/a TikTok, Ltd. and Beijing ByteDance Technology Co. Ltd.
(collectively, the “Defendants”). Plaintiffs alleged that Defendants violated laws by improperly
collecting and using the personal data of people who used the TikTok - Make Your Day video-
sharing application (and/or its predecessor application, Musical.ly) (the “App.”).

                                        Am I included?
You are a Settlement Class Member if you reside in the United States and used the App prior to
DATE of issuance of the Preliminary Approval Order. You are also a member of an Illinois
subclass if you reside in Illinois and used the App in Illinois to create videos prior to DATE of
issuance of the Preliminary Approval Order (collectively the “Settlement Class”).

                            What does the Settlement provide?
The Settlement, if approved, would provide $92,000,000 to pay the members of the Settlement
Class who file valid claims, as well as to pay Plaintiffs’ attorneys’ fees, costs, a service award for
the named plaintiffs, and the administrative costs of the settlement. It avoids the further cost and
risk associated with continuing the lawsuits; it pays money to those persons whose rights Plaintiffs
contend were violated; and it releases Defendants from further liability.

If you are an Illinois resident and used the App in Illinois to create videos, you may be entitled to
a payment up to 6 times that of non-Illinois residents due to certain claims in the lawsuit that are
specific to Illinois residents.

For complete information, dates, and details on the benefits, visit the settlement website at
www.tiktokdataprivacysettlement.com, or call 1-XXX-XXX-XXXX.

                                    What are my options?
If you and/or your minor child qualify for a payment, you must complete and submit a valid Claim
Form. You may download a Claim Form at the Settlement Website,
www.tiktokdataprivacysettlement.com or request a Claim Form by calling the Settlement
Administrator at 1-XXX-XXX-XXXX.

To be valid, a Claim Form must be completed fully and accurately, signed under penalty of perjury,
and timely submitted. You may submit a Claim Form by U.S. mail or file a Claim Form online. If
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you send in a Claim Form by U.S. mail, it must be postmarked by DATE. If you file a Claim Form
online, then you must do so by 11:59 p.m. EST on DATE.

If you and/or your minor child wish to be excluded from the Settlement Class, you must mail your
exclusion request so it is postmarked no later than DATE. If you do not exclude yourself from the
Settlement class, you may object to the Settlement by submitting a written objection by DATE.
For specific information on how to submit a written exclusion request or objection, and the
requirements for each, please visit www.tiktokdataprivacysettlement.com.

                              Do I have a lawyer in the case?
The Court has appointed the following lawyers as “Class Counsel” to represent all members of the
Settlement Class: Katrina Carroll, Carlson Lynch LLP; Elizabeth A. Fegan, Fegan Scott LLC; and
Ekwan E. Rhow, Bird, Marella, Boxer, Wolpert, Nessim, Drooks, Lincenberg & Rhow, P.C. You
will not be charged for these lawyers. If you want to be represented by another lawyer, you may
hire one to appear in Court for you at your own expense. Class Counsel intends to request up to
33.33% of the Settlement Fund for attorneys’ fees and reimbursement of reasonable, actual out-
of-pocket expenses incurred in the litigation. The Court will decide the amount of fees and
expenses to award. Class Counsel will also request that a Service Award of $2,500.00 be paid to
each of the Class Representatives for their services as representatives of the Settlement Class.

                              The Court’s Fairness Hearing
The Court has scheduled a Final Approval Hearing on DAY, DATE at TIME at the United States
District Court for the Northern District of Illinois, Eastern Division, Everett McKinley Dirksen
United States Courthouse, 219 South Dearborn Street, Chicago, IL 60604. The hearing may be
moved to a different date or time without additional notice, so it is a good idea to check
www.tiktokdataprivacysettlement.com for updates. You do not need to attend this hearing to
qualify for a settlement payment.

At this hearing, the Court will consider whether the Settlement is fair, reasonable, and adequate.
The Court will also consider the requests by Class Counsel for attorneys’ fees and expenses and
for a Service Award to the Class Representatives. If there are objections, the Court will consider
them at that time. After the hearing, the Court will decide whether to approve the Settlement. It is
unknown how long these decisions will take.

  THIS NOTICE IS ONLY A SUMMARY. THE FULL NOTICE AND THE SETTLEMENT
                      AGREEMENT ARE AVAILABLE AT
                WWW.TIKTOKDATAPRIVACYSETTLEMENT.COM.
